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                       EXHIBIT 23
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Map of Specified Gulf Waters




                See inset
           A    on Page 2




 B     C                         D
                                                               G
                                                                                                                       See inset
                                                                            H
                                                          F                                                            on Page 3
                                                                                               K
                                 E                                                    I    J


LEGEND                                                                                                                              L

     Specified Gulf Waters                                                                BOUNDARY POINTS IN GULF OF MEXICO
                                                                   Point   Latitude           Longitude    Point      Latitude     Longitude
     Waters Not Included in Class Definition: State Waters
     Within 3 Marine Leagues (9 Nautical Miles) of Coasts of         A     28.206ᵒN          ‐96.318ᵒW       G       25.703ᵒN      ‐91.092ᵒW
     Texas Counties Not Included in Gulf Coast Area                  B     25.956ᵒN          ‐97.145ᵒW       H       25.669ᵒN      ‐88.385ᵒW
                                                                     C     25.971ᵒN          ‐96.980ᵒW       I       24.933ᵒN      ‐87.210ᵒW
     Boundaries of National Territorial                              D     25.997ᵒN          ‐93.445ᵒW       J       24.941ᵒN      ‐86.938ᵒW
     Waters                                                          E     24.734ᵒN          ‐93.664ᵒW       K       25.207ᵒN              1
                                                                                                                                   ‐86.553ᵒW
                                                                     F     25.445ᵒN          ‐91.645ᵒW       L       23.925ᵒN      ‐81.216ᵒW
                                                                                                                                        028891
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Map of Specified Gulf Waters

 BRAZORIA COUNTY                                                               GALVESTON COUNTY
                                                                   A




                                                               B

                                                                          C




                                                                                      D




LEGEND
  Specified Gulf Waters
                                                                                  BOUNDARY POINTS
  Waters Not Included in Class Definition: State Waters
  Within 3 Marine Leagues (9 Nautical Miles) of Coasts of              Point     Latitude       Longitude
  Texas Counties Not Included in Gulf Coast Area                        A        29.197ᵒN      ‐95.057ᵒW
   Boundaries of National Territorial                                    B       29.086ᵒN      ‐95.130ᵒW
   Waters
                                                                         C       29.063ᵒN      ‐95.092ᵒW
   County Boundaries                                                                                           2
                                                                        D        28.986ᵒN      ‐94.978ᵒW
                                                                                                            028892
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Map of Specified Gulf Waters

         MIAMI‐DADE
         COUNTY
                      B
                              C
       A                                        D




                                                                          E




                                  MONROE COUNTY



LEGEND
  Specified Gulf Waters                                                   BOUNDARY POINTS
                                                               Point     Latitude       Longitude
  Waters Not Included in Class Definition: State Waters
  Within 3 Marine Leagues (9 Nautical Miles) of Coasts of        A       25.306ᵒN      ‐80.372ᵒW
  Texas Counties Not Included in Gulf Coast Area
                                                                 B       25.354ᵒN      ‐80.265ᵒW
   Boundaries of National Territorial                            C       25.342ᵒN      ‐80.251ᵒW
   Waters
                                                                D        25.314ᵒN      ‐80.150ᵒW
   County Boundaries                                                                                   3
                                                                 E       25.184ᵒN      ‐79.692ᵒW
                                                                                                    028893
